               IN THE SUPREME COURT OF NORTH CAROLINA

                                   2021-NCSC-17

                                      No. 22A20

                                Filed 12 March 2021

RED VALVE, INC., and HILLENBRAND, INC.

              v.

TITAN VALVE, INC., BEN PAYNE, FABIAN AEDO ORTIZ, and JOHN DOES 1–
10



      Appeal pursuant to N.C.G.S. § 7A-27(a)(3) from an order and opinion on

plaintiffs’ verified motion for order to show cause and second motion for sanctions and

contempt entered on 3 September 2019 and an order and opinion on plaintiffs’

petition for reasonable expenses resulting from plaintiffs’ second motion for sanctions

entered on 5 September 2019 by Judge Louis A. Bledsoe III, Chief Special Superior

Court Judge for Complex Business Cases, in Superior Court, Mecklenburg County,

after the case was designated a mandatory complex business case by the Chief Justice

pursuant to N.C.G.S. § 7A-45.4(a). Heard in the Supreme Court on 16 February 2021.


      Nelson Mullins Riley &amp; Scarborough LLP, by Benjamin S. Chesson, David N.
      Allen, and Anna C. Majestro, for plaintiff-appellees.

      Bell, Davis &amp; Pitt, PA., by Joshua B. Durham and Edward B. Davis, for
      defendant-appellants.


      PER CURIAM.
                        RED VALVE, INC. V. TITAN VALVE, INC.

                                     2021-NCSC-17

                                  Opinion of the Court



      AFFIRMED.1




      1 The order and opinion of the North Carolina Business Court entered on 3 September

2019,            2019         NCBC             56,         is         available      at
https://www.nccourts.gov/assets/documents/opinions/2019_NCBC_56.pdf, and the order and
opinion of the North Carolina Business Court entered on 5 September 2019, 2019 NCBC 57,
is available at https://www.nccourts.gov/assets/documents/opinions/2019_NCBC_57.pdf.
